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Law OFFICES

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PETer W. T1*
*Admitted to NJ & DC Bar February 6, 2008 EMAnL: TILLLAW@AOL.COM

YALE Han‘
“Admitted to NJ & NY Bar

VIA SAME DAY NEW _ JERSEY LAWYERS SERVICE

United States District Court Clerk

United States District Court
District of New Jersey (8 OR
Martin Luther King Jr. Federal Building and Courthouse 5 oH 0 ( je Pe oS
50 Walnut Street Oo TSS
Newark, New Jersey 07102 Tr o
UO Se
Re: Elizabeth Silver Fagan and Edward D. Fagan Ww Om
vs. = =“

BS

Margaret Jaffe, et al. and

Baldwin & Associates Construction, Inc., et al.
Superior Court, Law Division

Essex County Docket No.: ESX-L-7205-07

Dear Sir/Madam:

On behalf of the Defendants and Additional Defendants for Injunctive
Relief, now enclosed is an original and two copies of a Civil Cover Sheet and a
Certification Pursuant to Local Civil Rule 11.2, inadvertently left out of the

package of filings to the Court yesterday, February 5, 2008.

Respectfully,

PWT/amm Peter W. f

Encls.

cc: Superior Court Clerk, Essex County (via Ordinary Mai! — one courtesy
copy)

Elizabeth Silver Fagan, Pro Se Plaintiff (w/encl.)
Edward D. Fagan, Esq. Pro Se Plaintiff (w/encl.)
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TelS 44 (Rev. 11/04)

CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided
by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating

the civil docket sheet, (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)
ok KG ( 7th

I. (a) PLAINTIFFS DEFENDANTS

County of Residence of First Listed Defendant Union County
(IN U.S. PLAINTIFF CASES ONLY)
NOTE; IN LAND CONDEMNATION CASES, USE THE LOCATION GF THE
LAND INVOLVED.

(b) County of Residence of First Listed Plaintiff Essex County
(EXCEPT (N U.S. PLAINTIFF CASES}

Attorneys (If Known)

Law Offices of Peter W. Till
105 Morris Avenue, Suite 201, Springfield, NJ 07081 (973) 258-0064

(c) Attorney's (Firm Name, Address, and Telephone Number}

Eltzabeth Silver-Fagan, PIf. ProSe Edward D. Fagan, Esq., Plif, Pro Se
10 Fernchiff Terrace, Short Hills, NJ 5 Penn Plaza, 23rd FL, NY, NY

II. BASIS OF JURISDICTION (Place an “X® in One Box Only} I. CITIZENSHIP OF PRINCIPAL PARTIES Place an “x” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
O11 US. Government 3 Federal Question PTF DEF PTF DEF
Plaintife (U.S, Gavernment Not a Party} Citizen of This State gi 1 Incorporated or Principal Place Oa 4
af Business In This State
2 U.S. Government M4 Diversity Citizen of Another State 12 8 2 Incorporated anef Principal Place Os O5
Defendant (Indicate Citizenship of Parties in item 11) of Business In Another State
Citizen or Subject of a O3 7 3 Foreign Nation Os O86
Foreign Country
ti i | FORFEISURE/PENALTY BANKRUPTCY _ OTHER STATUTES ]
(1 110 Insurance PERSONAL INJURY [0 610 Agriculture 0 422 Appeal 28 USC 158 O1 400 State Reapportionment
C7 120 Marine 1 310 Airplane CF 362 Personal Injury - O 620 Oiher Food & Drug 0 423 Withdrawal O 410 Antitust
0 130 Miller Act O 315 Airplane Product Med. Malpractice 625 Drug Related Seizure 28 USC 157 1 430 Banks and Banking
(7 140 Negotiable Instrument Liability C1 365 Personal Injury - of Property 21 USC 881 OF 450 Commerce
1 150 Recovery of Overpayment | 320 Assault, Libel & Product Liability O 630 Liquor Laws ROPERTY:- RIG (1 460 Deportation
& Enforcement of Judgment Slander (1 368 Asbestos Personal [7 640 RLR. & Truck C1 820 Copyrights O 470 Racketeer influenced and
07 151 Medicare Act 1 330 Federal Employers’ Injury Product 1 650 Airline Regs. 7 830 Patent Corrupt Organizations
(7 152 Recovery of Defaulted Liability Liability O 660 Occupational 0 840 Trademark O1 480 Consumer Credit
Student Loans O 340 Marine PERSONAL PROPERTY Safety/Health OF 490 Cable/Sat TV
(Exel, Veterans) C1 345 Marine Product 7 370 Other Fraud O 690 Other O 810 Selective Service
07 153 Recovery of Overpayment Liability 17 371 Truth in Lending J LABOR SOCIAL SECURITY =) 01 850 Securities*Commodities!
of Veteran’s Benefits 1 350 Motor Vehicle B® 380 Other Personal Of 710 Fair Labor Standards C7 861 HLA (1395ff) Exchange
1 160 Stockholders’ Suits 1 355 Motor Vehicle Property Damage Act PT 862 Black Lung (923) 1) 875 Customer Challenge
7 190 Other Contract Product Liability CT) 385 Property Damage Ct 720 Labor/Memt. Relations | 863 DIWC/DTIWW (405(g)) 12 USC 3410
C1 195 Contract Product Liability [01 360 Other Personal Product Liabilily O 730 Labor/MyumtReporting | $64 $81D Title XVE O 890 Other Stanutory Actions
(1_196 Franchise Injury & Disclosure Act (7 8635 RS1 (405 OF 891 Agricultural Acts
[REAL PROPERTY. _ACHVIE: RIGHTS 2: [EPRISONER PETITIONS |O) 740 Railway Labor Act FEDERAL TAX SUITS — 2 |01 892 Economic Stabilization Act
01 210 Land Condemnation O 441 Voting 410 Motions te Vacate =| 790 Other Labor Litigation | (1 870 Taxes (U.S. Plaintiff O) 893 Environmental Matters
C1 220 Foreclosure O 442 Employment Sentence 1D 791 Empl. Ret. Inc. or Defendant) 1 894 Energy Allocation Act
(7 230 Rent Lease & Ejectment C) 443 Housing/ Habeas Corpus: Security Act 0 873 IRS—Third Party 1 895 Freedom of Information
OF 240 Torts ta Land Accommodations 0 530 General 26 LIST 7609 Act
C7 245 Tort Product Liability 1 444 Welfare C1 535 Death Penalty 1 900Appenl of Fee Determination
C1 290 All Other Reat Property C1 445 Amer. w/Disabilities - 77 540 Mandamus & Other Under Equal Access
Employment O1 $50 Civil Rights to Justice
OF 446 Amer. wDisabilities - [7 355 Prison Condition O1 950 Constitutionality of
Other State Statutes
440 Other Civil Rights

¥. ORIGIN (Place an “X” in One Box Only) Appeal to District

a Transferred from Judge fram
m1 Original, 2 Removed from 3 Remanded from a4 Reinstated or Os another district O6 Multdistrict 7 Magistrate
Proceeding State Court Appellate Court Reopened (specify) Litigation Judgement

Cite the U.S. Civil Statute under which you are filing (Deo not cite jurisdictional statutes unless diversity):

YI. CAUSE OF ACTION

Brief description of cause: .
Aton tor claims to preserve certain personal and real property already belonging ta certain Detendants

VII. REQUESTED IN LJ CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER F.R.CP. 23 JURY DEMAND: Yes ONo
VIIL RELATED CASE(S) Loy
IF ANY (Seeinstmetions: ne yGE DOCKET NUMBER a
DATE SIGNATU OF ATTORN! IF RECO ry
02/05/2008 CE, LE ee cS
-_

FOR OFFICE USE ONLY Lo x x
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE 47
Net
al

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LAW OFFICES OF PETER W. TILL

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Springfield, New Jersey 07801

(973) 258-0064

Attorneys for Defendants and

Additional Defendants for Injunctive Relief

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

‘ SUPERIOR COURT OF NEW JERSEY
ELIZABETH SILVER FAGAN | LAW DIVISION: ESSEX COUNTY
EDWARD D. FAGAN, i DOCKET NO.: ESX-L-7205-07

Plaintiff,
Vv. Civil Action OF” f OIL
DAVID H. JAFFE, MARGARET E. JAFFE,
KENN KIMM ROGERS, MINDY JAFFE | CERTIFICATION PURSUANT TO
ROGERS LOCAL CIVIL RULE 11.2

Defendants.
and

BALDWIN & ASSOCIATES CONSTRUCTION :
INC., BALDWIN ASSOCIATES INC.;
BALDWIN ASSOCIATES LLC; NEW
BALDWIN ASSOCIATES, LLC; MAYFLOWER :
REALTY CO. LLC; BEST VALLEY REALTY; |
DAVID JAFFE MANAGEMENT CO.;

LAKESIDE GARDEN APARTMENTS; SO.
CLINTON PARTNERSHIP and VILLAGE
APARTMENTS;

THE JAFFE FAMILY 2002 IRREVOCABLE
TRUST; THE JAFFE FAMILY 2003
IRREVOCABLE TRUST; THE JAFFE FAMILY :
2004 IRREVOCABLE TRUST; THE JAFFE
FAMILY 2005 IRREVOCABLE TRUST;

MINDY JAFFE ROGERS, TRUSTEE OF
ASSETS AND TRUST ASSETS OF DAVID H. |
JAFFE AND MARGARET E. JAFFE; MINDY — :
JAFFE ROGERS, OWNER/PRIMARY
BENEFICIARY OF WHOLE LIFE INSURANCE ;
POLICIES ISSUED BY PACIFIC LIFE
INSURANCE CO. POLICY NUMBERS
UNKNOWN ON LIFE OF DAVID H. JAFFE
AND MARGARET E. JAFFE; MINDY JAFFE
ROGERS, PRIMARY BENEFICIARY OF
TERM LIFE INSURANCE POLICIES ISSUED |
BY NORTH AMERICAN LIFE INSURANCE

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